     Case 5:24-cv-01886-SB-SP     Document 23 Filed 02/21/25       Page 1 of 1 Page ID
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 4                            UNITED STATES DISTRICT COURT
 5                          CENTRAL DISTRICT OF CALIFORNIA
 6
        UNITED STATES OF AMERICA,                 Case No. 5:24-cv-01886-SB-SP
 7
                                  Plaintiff,      ORDER DISMISSING CASE WITH
 8                                                PREJUDICE PURSUANT TO FED. R.
                                                  CIV. P. 41(a)(2)
 9      v.
10
        KENNETH RENFROE,
11
12                                Defendant.

13
14           Having considered the parties’ Stipulation to Dismiss the United States’
15     Complaint Pursuant to Fed. R. Civ. P. 41(a)(2) and Retain Jurisdiction to Enforce
16     Settlement Agreement, IT IS ORDERED THAT:
17              (1) The United States’ claims are dismissed with prejudice pursuant to Fed.
18                 R. Civ. P. 41(a)(2); and
19              (2) The Court retains jurisdiction to enforce the terms of the Parties’
20                 Settlement Agreement.
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       Dated: February 21, 2025
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23                                                      Stanley Blumenfeld, Jr.
                                                      United States District Judge
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